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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,
  vs.                                                                No. 09-CR-3078 JB

JEREMIAH WRIGHT,

                       Defendant.


                      ORDER DENYING EMERGENCY MOTION

        THIS MATTER is before the Court on Defendant Jeremiah Wright’ Emergency Motion for

Sandoval County Detention Center to Transport Defendant to a Dental Facility to be Evaluated and

Treated for a Broken Tooth [Doc. 198].

        Defendant’s custodian is responsible for providing all reasonable and necessary medical care

and treatment for an individual in the government’s custody. DeShaney v. Winnebago County Dept.

Of Soc. Servs., 489 U.S. 189, 199-200 (1989) Thus, Defendant should present his request for

medical services to the appropriate officer at the detention facility, and the medical officer of the

detention facility will make a determination as to the reasonableness and necessity of the requested

care. Estelle v. Gamble, 4290 U.S. 97, 104 (1976). It is inappropriate for the Court to make those

kinds of medical determinations.

        IT IS THEREFORE ORDERED that Jeremiah Wright’s Emergency Motion is DENIED.



                                                      _________________________________
                                                      Lorenzo F. Garcia
                                                      United States Magistrate Judge
